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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, Ishrat Khan, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On January 29, 2025, at my direction and under my supervision, employees of Kroll caused
the following document to be served by the method set forth on the (1) Core/2002 Service List
attached hereto as Exhibit A, and (2) Affected Parties Service List attached hereto as Exhibit B:

            Supplemental Order (A) Authorizing Debtors to Sell by Private Sale Certain of Debtors’
             Assets Free and Clear of Liens, Claims, and Encumbrances, with Such Interests to Attach
             to the Proceeds, and (B) Granting Related Relief [Docket No. 864]


                                 [Remainder of page intentionally left blank]




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom
VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight
FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587),
Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC (8288), American
Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC (5940), American
Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco
S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet, LLC (n/a), American Freight
Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836),
Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968), Franchise Group Intermediate V,
LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise
Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC
(8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition,
LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco,
LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW
Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group
Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court,
Suite J, Delaware, Ohio 43015.
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Dated: February 7, 2025
                                                                 /s/ Ishrat Khan
                                                                 Ishrat Khan
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on February 7, 2025, by Ishrat Khan, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in Queens County
Commission Expires April 4, 2028




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                       Exhibit A
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                                                                                                                        Exhibit A
                                                                                                                   Core/2002 Service List
                                                                                                                  Served as set forth below

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                                                                                                                               Exhibit A
                                                                                                                          Core/2002 Service List
                                                                                                                         Served as set forth below

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                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

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                                                                                                                       Core/2002 Service List
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                                                                                                                                Exhibit A
                                                                                                                           Core/2002 Service List
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                                                                                                                             Exhibit A
                                                                                                                        Core/2002 Service List
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                                      DESCRIPTION                                                NAME                                                ADDRESS                                            EMAIL          METHOD OF SERVICE

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                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

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                                                                                                                      Core/2002 Service List
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                        Exhibit B
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                                                                                                                                        Exhibit B
                                                                                                                                Affected Parties Service List
                                                                                                                                 Served as set forth below

AddressID   Name                                                  Address1                                 Address2                                    Address3                Address4 City                 State PostalCode Email                       Method of Service
29762620    1230 Zion LLC                                         2101 Rushing Spring Dr                                                                                                Pearland             TX    77584-4707                             First Class Mail
29762633    30X30 34th Street Lubbock Partners, LLC               Attn: Jennifer Janecka                   2009 Porterfield Way                        Ste. P                           Upland               CA    91786                                  First Class Mail
29762616    4116 OBT Investments, LLC                             Attn: Bill Belford                       2799 NW Second Avenue                       Ste. 105                         Boca Raton           FL    33431                                  First Class Mail
29762615    6001 Powerline, LLC                                   Attn: Andrew Naumov                      1200 Wright Ave                                                              Richmond             CA    94804                                  First Class Mail
29762612    900-71, LLC                                           Attn: David Belford                      501 Morrison Rd.                            Ste. 100                         Gahanna              OH    43230                                  First Class Mail
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29762833    AF Newco I, LLC                                       Lowenstein Sandler LLP                   Attn: Andrew Behlmann                       One Lowenstein Drive              Roseland            NJ    07068      mp@velocityrecoveries.com   Email
29762638    Alisan LLC and Roseff LLC                             Attn: General Counsel                    185 NW Spanish River Blvd.                  Ste. 100                          Boca Raton          FL    33431                                  First Class Mail
29889925    ALLIED H.V.A.C.                                       158-2 REMINGTON BLVD.                                                                                                  RONKONKOMA          NY    11779                                  First Class Mail
29762611    Bane Holdings Tallahassee                             Attn: Larry Bane                         309 Northeast                               22nd Street                       Wilton Manors       FL    33305                                  First Class Mail
29762621    Banner Parters LLC                                    c/o Best Real Estate Management LLC      Attn: Elizabeth G. Rodriguez                601 N. Mesa             Ste. 1500 El Paso             TX    79901                                  First Class Mail
29762635    Boatlanding Development Co., Inc.                     Attn: David Sears                        423 State St.                                                                 Bowling Green       KY    42102                                  First Class Mail
29762624    Bostick Development LLC                               Attn: Colleen Braun                      803 W Big Beaver                            Ste. 100                          Troy                MI    48084                                  First Class Mail
29762634    Brierwood Village LLC                                 C/O TSG Realty                           Attn: Pamela D. Howard & Ben Stetzer        8650 Old Kings Road S   STE 12    Jacksonville        FL    32217                                  First Class Mail
29762628    Champaign Village 2, LLC                              Attn: John Carson                        505 W. University Ave.                                                        Champaign           IL    61820                                  First Class Mail
29762619    Daniel P. Hagaman                                     5700 Laurel Ridge Road                                                                                                 Chattanooga         TN    37416                                  First Class Mail
29762613    DCT Presidents Drive LLC                              Attn: Chief Marketing Officer Prologis   300 S. Orange Avenue                        Suite 1110                        Orlando             FL    32801                                  First Class Mail
29762614    DCT Presidents Drive LLC                              Attn: General Counsel                    Prologis 1800 Wazee Street                  Suite 500                         Denver              CO    80202                                  First Class Mail
            Donna Rainwater Reece, Larry J. Rainwater, R. Bryan
29762637    Whitmire and Karle J. Whitmire                        Attn: R. Bryan Whitmire                  6806 Rogers Ave.                                                             Fort Smith           AR   72903                                   First Class Mail
29762625    Ellis Chai, LLC                                       Attn: Tyler John                         70 W Hibiscus Blvd.                                                          Melbourne            FL   32901                                   First Class Mail
29762623    EXETER 1075 COBB, LLC                                 c/o Five Radnor Corporate Center         Attn: Accounts Receivable Department        100 Matsonford Rd.      Ste. 250 Radnor               PA   19087                                   First Class Mail
29762631    Fivel Family, LLC                                     Attn: John F. Sedel                      1630 Donna Drive                            Ste. 101                         Virginia Beach       VA   23451                                   First Class Mail
29762636    Hogan Holdings 56, LLC                                C/O Hogan Real Estate                    Attn: W. Glenn Hogan                        9300 Shelbyville Rd     STE 1300 Louisville           KY   40222                                   First Class Mail
29762607    Lichtefield Development Trust                         Attn: Marissa Coon                       9300 Shelbyville Rd                         Ste. 1300                        Louisville           KY   40222                                   First Class Mail
29762608    Lincoln Associates                                    Attn: Bob Dragin & Charles P. Hyde       5755 Granger Road                           Ste 825                          Independence         OH   44131                                   First Class Mail
29762622    Marta Management, Inc.                                Attn: Daniela Vargas                     1124 Kane Concourse                                                          Bay Harbor Islands   FL   33154                                   First Class Mail
29762618    Merchant 33, LLC                                      Attn: Steve Belford                      6649 N. High St.                            Ste. LL2                         Worthington          OH   43085                                   First Class Mail
29762626    Meredith, Inc                                         Attn: Craig M. Kay                       707 Virginia St. East                       15th Floor                       Charleston           WV   25301                                   First Class Mail
29762610    Niagara Falls 778, LLC                                Attn: Steve Belford                      6649 N. High St.                            Ste. LL2                         Worthington          OH   43085                                   First Class Mail
29762630    North Sky, LLC                                        David Abdo                               PO Box 478                                                                   Charleston           SC   29407                                   First Class Mail
29762629    North Sky, LLC                                        Attn: Steve Belford                      6649 N. High St.                            Ste. LL2                         Worthington          OH   43085                                   First Class Mail
29762617    Rodi Road 501, LLC                                    Attn: Steve Belford                      6649 N. High St.                            Ste. LL2                         Worthington          OH   43085                                   First Class Mail
29762627    Sav 150000 Abercorn LLC                               Attn: Igor Mitnik & Oleg Mitnik          250 Port Street                                                              Newark               NJ   7114                                    First Class Mail
29762606    SW 17th Street 1010, LLC                              Attn: Steve Belford                      6649 N. High St.                            Ste. LL2                         Worthington          OH   43085                                   First Class Mail
29762609    TLP 4782 Muhlhauser LLC                               Mike Meyers                              2215 York Road                              Ste. 405                         Oak Brook Terrace    IL   60523                                   First Class Mail
29762632    Weston SCIP 2, LLC                                    Attn: Josh Eig & James Asher             4760 Richmond Rd.                           Ste. 200                         Cleveland            OH   44128                                   First Class Mail
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